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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                   GAINESVILLE DIVISION

IN RE:                                                )        CHAPTER 7
                                                      )
SHARON LOUISE MONCADA                                 )        CASE NO. 19-20112-JRS
                           DEBTOR.                    )
---------------------------------------------------------------------------------------------------
                                                      )
SPECIALIZED LOAN SERVICING LLC )
AS SERVICING AGENT FOR CASCADE )
FUNDING MORTGAGE TRUST 2017-1 )
                           MOVANT,                    )
                                                      )        CONTESTED MATTER
V.                                                    )
                                                      )
SHARON LOUISE MONCADA                                 )
ALBERT F. NASUTI, TRUSTEE                             )
                           RESPONDENTS.               )
____________________________________)

                                          NOTICE OF HEARING

         NOTICE IS HEREBY GIVEN THAT a Motion for Relief from the Automatic Stay has
been filed in the above-styled case. In the event a hearing cannot be held within thirty (30) days
from the filing of the motion for relief from the automatic stay as required by 11 U.S.C. §362,
Movant waives this requirement and agrees to the next earliest possible date, as evidenced by
signature below. The undersigned consents to the automatic stay (and any related co-debtor
stay) remaining in effect with respect to Movant until the court orders otherwise.
         HEARING will be held at 1:00 P.M. on February 21, 2019, in Courtroom 103, U.S.
Courthouse, 121 Spring Street SE, Gainesville, GA 30501.
         Your rights may be affected by the Court’s ruling on these pleadings. You should read
these papers carefully and discuss them with your attorney, if you have one in this bankruptcy
case (if you do not have an attorney, you may wish to consult one). If you do not want the Court
to grant the relief sought in these pleadings, or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response, you
must attach a certificate stating when, how and to whom (including addresses) you served the
response. Mail/deliver your response so it is received by the Clerk at least two (2) business days
before the hearing. The address of the Clerk’s office: Clerk, Room 120, U.S. Courthouse, 121
Spring Street SE, Gainesville, GA 30501.
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       You must also mail a copy to the undersigned at the address below. In the event a
hearing cannot be held within thirty (30) days from the filing of the motion for relief from the
automatic stay as required by 11 U.S.C. §362, Movant waives this requirement and agrees to the
next earliest possible date, as evidenced by signature below. The undersigned consents to the
automatic stay (and any related co-debtor stay) remaining in effect with respect to Movant until
the Court orders otherwise.
                                                          /s/Chad R. Simon
                                                          Chad R. Simon
                                                          Georgia Bar No. 646919
                                                          The Chad R. Simon Law Firm, LLC
                                                          Post Office Box 80727
                                                          Atlanta, GA 30366
                                                          chad@chadsimonlaw.com
                                                          (770) 856-9046
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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                   GAINESVILLE DIVISION

IN RE:                                                )        CHAPTER 7
                                                      )
SHARON LOUISE MONCADA                                 )        CASE NO. 19-20112-JRS
                           DEBTOR.                    )
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SPECIALIZED LOAN SERVICING LLC )
AS SERVICING AGENT FOR CASCADE )
FUNDING MORTGAGE TRUST 2017-1 )
                           MOVANT,                    )
                                                      )        CONTESTED MATTER
V.                                                    )
                                                      )
SHARON LOUISE MONCADA                                 )
ALBERT F. NASUTI, TRUSTEE                             )
                           RESPONDENTS.               )
____________________________________)

                       MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW, Specialized Loan Servicing LLC as Servicing Agent for Cascade

Funding Mortgage Trust 2017-1 (“Movant”), a secured creditor in the above-captioned case, by

and through counsel, and moves this Court to enter an order granting its request for relief from

the automatic stay imposed by 11 U.S.C. § 362 and respectfully shows the Court as follows:

         1.       On January 22, 2019, Debtor filed a petition with the Bankruptcy Court for the

Northern District of Georgia under Chapter 7 of Title 11 of the United States Bankruptcy Code.

         2.       Movant holds a Promissory Note secured by the Security Deed which describes

real     property      owned       by      Debtor       and     known        as:     6650      Sunbriar   Drive

Cumming, GA 30040 (“Property”). A copy of the Note and Security Deed, are attached hereto

as Composite Exhibit “A” respectively.

         3.       Debtor executed a Promissory Note secured by a Mortgage or Security Deed. The

Promissory Note is either made payable to Movant or has been duly indorsed. Movant, directly
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or through an agent, has possession of the Promissory Note. Movant is the original mortgagee or

the beneficiary or the assignee of the Security Deed.

       4.      Upon information and belief, the approximate payoff, exclusive of legal fees and

expenses incurred in the connection with the instant motion, due and owing to the Movant as of

January 25, 2019 is $733,712.10.

       5.      According to the Statement of Intention, Debtor intends to surrender the Property.

       6.      Based on the Debtor’s schedules, the value of the Property is approximately

$650,000.00.

       7.      Debtor has defaulted in the mortgage payments to be made to Movant and is

currently due for the September 1, 2015 payment with the total arrearage amount of $221,034.37.

       8.      Cause exists for relief from the automatic stay. Direct post-petition mortgage

payments are not being made to the Movant. As such, Movant’s interests are not adequately

protected.

       9.      Specialized Loan Servicing LLC services the loan on the Property

referenced in this Motion. In the event the automatic stay in this case is modified, this case

dismisses, and/or the Debtor obtains a discharge and a foreclosure action is commenced on the

mortgaged property, the foreclosure will be conducted in the name of Movant or Movant’s

successor or assignee. Movant, directly or through an agent, has possession of the Note. The

Note is either made payable to Movant or has been duly endorsed. Movant is the original

mortgagee or beneficiary or the assignee of the Mortgage/Deed of Trust.

               WHEREFORE, Movant prays the Court as follows:

       1.      Modify the Automatic Stay of 11 U.S.C. § 362(a) to permit Movant to enforce its

security interest in the Collateral including but not limited to any non-bankruptcy remedies to

foreclose and obtain possession;
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       2.     Modify Rule 4001(a)(3) of the Bankruptcy Code so that it is not applicable in this

case and so Movant may immediately enforce and implement this order granting relief from the

automatic stay;

       3.     Movant specifically requests permission to communicate with the Debtor(s) and

Debtor(s)’ counsel to the extent necessary to comply with applicable non-bankruptcy law; and

       4.     Grant Movant such other and further relief as the Court deems just and proper.



                                                          /s/ Chad R. Simon
                                                          Chad R. Simon
                                                          Georgia Bar No. 646919
                                                          The Chad R. Simon Law Firm, LLC
                                                          Post Office Box 80727
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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via
Regular U.S. Mail and/or Electronic Mail to the parties listed on the attached service list, this
28th day of January, 2019.

SERVICE LIST

Sharon Louise Moncada
6650 Sunbriar Drive
Cumming, GA 30040

W. Douglas Jacobson
Law Offices of Douglas Jacobson, LLC
Suite 100
107 Colony Park Drive
Cumming, GA 30040

Trustee
Albert F. Nasuti
Thompson, OBrien, Kemp & Nasuti, P.C.
40 Technology Parkway South
Suite 300
Peachtree Corners, GA 30092

U.S. Trustee
Office of the United States Trustee
362 Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303



                                                              /s/Chad R. Simon
                                                              Chad R. Simon
                                                              Georgia Bar No. 646919
                                                              The Chad R. Simon Law Firm, LLC
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